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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Christian Castelan (Pro-Se)
Plaintiff, COMPLAINT PURSUANT

TO 42 U.S.C. § 1983
-against-
-CV--__(_)

JURY TRIAL REQUESTED: YES

Correctional Officer Keenan A. John
Correctional Officer Shaun H. Kerr
A- Block Sergeant Bermann Joseph

Defendants.

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COMPLAINT

PRELIMINARY INTRODUCTION

Plaintiff in the above-caption action allege (s) as follows:

Plaintiff, Christian Castelan (Pro-Se), DIN #19 A-4453, brings this action seeking relief
and damages to defend and protect the rights guaranteed by the Constitution of the United States.
This action is brought pursuant to 42 U.S.C. § 1983, against New York State Department of
Corrections and Community Supervision (hereinafter, NYS DOCCS), employees, executive and
administrative staff, Correctional Officers and Correctional Supervisors, at Sing-Sing
Correctional Facility for money damages brought pursuant to 42 U.S.C. § 1983, to redress the
deprivation of rights secured to plaintiff by the Eighth and Fourteenth Amendments to the United
States Constitution in their individual and official capacity.

JURISDICTION
. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1341 (a)(3), 1341

(a)(4), 1367(a) and 42 U.S.C. § 1983.

VENUE
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. Venue is proper in this District pursuant to 28 U.S.C. § 1391.

It is alleged that the individual employees, Executive and Administrative staff members,
Correctional Officers, Correctional Supervisors, Medical Staff and Doctors of the Medical
Department at the NYS DOCCS retaliated, deprived and violated plaintiff's rights to be free
from cruel and unusual punishment.

PARTIES IN THE COMPLAINT:

. Plaintiff is and was at all times relevant herein a citizen of the United States and resides at:

Christian Castellan (Pro-Se), DIN #19 A-4453 ,
Sing-Sing Correctional Facility

354 Hunter Street

Ossining, N.Y. 10562

 

 

Defendant Number One: Defendant Number Two
Correctional Officer Keenan A. John Correctional Officer Shaun H. Kerr,
Sing-Sing Correctional Facility Sing-Sing Correctional Facility

354 Hunter Street 354 Hunter Street

Ossining, N.Y. 10562 Ossining, New York 10562
Defendant Number Three

 

A- Block Sergeant Bermann Joseph
Sing-Sing Correctional Facility

354 Hunter Street

Ossining, N.Y. 10562

EXHAUSTION OF ADMINISTRATIVE REMEDIES:

There is a grievance procedure at Sins-Sing Correctional Facility

. All grievances in relation to the matters alleged herein were filed, appealed and exhausted (See,

attached Exhibit A).
PREVIOUS LAW SUITS:

. None

STATEMENT OF CLAIM:
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10. Plaintiff, Christian Castelan (Pro-Se), brings this action claiming that defendants violated
and failed to comply with State and Federal regulations at the NYS DOCCS by assaulting him
against him in violation of his righst to violation of Eighth and Fourteenth Amendments to the
United States Constitution: 42 U.S.C. § 1983.

11. The NYS DOCCS institution giving rise to all of plaintiffs claims alleged herein
occurred at Sing-Sing Correctional facility, located at 354 Hunter Street, Ossining, New York,
10562.

12. The places within the institution where the events occurred were at:

Plaintiffs housing (living quarters) location in Housing Block A
b. On H-gallery (the flats)

13. By operation of State and Federal Laws, plaintiff's movement is controlled by the NYS

DOCCS, , plaintiff has been incarcerated in the custody of the NYS DOCCS. All defendants are

sued in their individual and official capacity.

FIRST CAUSE OF ACTION

IN VIOLATION OF PLAINTIFF’S RIGHTS TO BE FREE FROM CRUEL &
UNUSUAL PUNISHMENT HE WAS ASSAULTED BY STATE CORRECTIONAL
OFFICER KEENAN A. JOHN (C.0. JOHN) AND CORRECTIONAL OFFICER SHAUN
H. KERR, (C.O. KERR)

14. On September 8" 2022, plaintiff was housed on L-gallery when he was called for a visit on
the loud speaker. At approximately 12:40 p.m. The mess hall run was completed. L-gallery was the
last house to be call and since the end gate on |-gallery leading to the mess hall was closed causing
plaintiff to exit the gallery through P-gallery gate. When plaintiff arrived at p-gallery gate it was
locked and closed.

15. Two floors below is the bridge leading to the mess hall where several officers are posted
and after two-three minutes plaintiff shouted below for the officer attention in attempt to get the
officer’s attention to open the gate. A female officer the responded, requesting that plaintiff stop
screaming, which plaintiff compiled to, at this point plaintiff made his way down to H-gallery where
it seem like a Correctional Officer Keenan A. John (C.O. John) was waiting for the plaintiff.
Suddenly, C.O. John accosted plaintiff inquiring why he was screaming at his officer. Plaintiff
explained that he apologized to the officer and all was good between them, plaintiff then asked C.O.
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John what the problem was. C.O. John became irate and gave plaintiff a direct order to get on the
wall for a pat frisk, which plaintiff complied with.
16. Plaintiff was then pat frisk aggressively and in violent manner that made him feel very
uncomfortable. Plaintiff asked C.O. John if his behavior was necessary. C.O. John responded by
applying pressure to plaintiff’s neck. Plaintiff continues to inquiry about C.O. John’s behavior. After
the pat frisk C.O. John asked plaintiff for his identification card. The surrounding officers, one of
them being Correctional Officer Shaun H. Kerr, (C.O. Kerr) then took an intimidated stance around
the plaintiff. Plaintiff then question the officer about what was taking place between him the officer.
CO. John then told plaintiff to shut his mouth if he wants to his to make it to the visiting floor.
17. After shrugging off C.O. John comments C.O. John and C.O. Kerr then grabs plaintiff and
threw him on the floor the surrounding officer including C.O. John and C.O. Kerr then kicked and
stomped him out. After the assault on him plaintiff was escorted to the hospital where photo was
taken. Plaintiff never made it to his visit.

SECOND CAUSE OF ACTION

IN VIOLATION OF PLAINTIFF’S RIGHTS TO BE FREE FROM CRUEL &
UNUSUAL PUNISHMENT A- BLOCK SERGEANT BERMANN JOSEPH ACTED
WITH DELIBERATE INDIFFERENCE IN FAILING TO PROTECT PLAINTIFF

FROM ASSAULT BY STATE CORRECTIONAL OFFICER KEENAN A. JOHN (C.O.
JOHN) AND CORRECTIONAL OFFICER SHAUN H. KERR, (C.O. KERR)

18. A- Block Sergeant Bermann Joseph who a the mess hall bridge and was present at all time
during the incident did not stop or intervene in the assault in doing he failed to supervise his
subordinates and his failure resulted in plaintiff obtaining injuries and an inadequate investigation of
the incident.
RELIEF
19. Paragraphs 1-through-18 is incorporated herein by reference as though fully set forth.
20. All of the above defendants are sued in their individual and official capacity.
21. Plaintiff demands: A TRIAL BY JURY.
22. Wherefore, plaintiff prays that this Court grant the following relief:
a. One Million (1,000,000.00) dollars in Compensatory Damages; and,
b. One Million (1,000,000.00) dollars in Punitive Damages
c. One Million (1,000,000.00) dollars for violation of constitutional rights

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23. I, Christian Castellan (Pro-Se), declare under the penalty of perjury that the foregoing is true and

correct.

Dated: 1/23, 2022

 

 

- 7]
Christian Castélan Plaintiff, Pro-Se
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Christian Castelan (Pro-Se)

Plaintiffs
-against-

Correctional Officer Keenan A. John

Correctional Officer Shaun H. Kerr
A- Block Sergeant Bermann Joseph

Defendant

 

I, Christian Castelan (Pro-Se), declare under the penalty that I have severed a copy of the
attached; (3) copies of a complaint captioned; Christian Castelan (Pro-Se),-against Correctional
Officer Keenan A. John Correctional Officer Shaun H. Kerr ,A- Block Sergeant Bermann Joseph
on the day of , 20, to the following address(es); U.S. Southern
District Court of New York, 500 Pearl St., New York, New York 10007-1312, by placing it in a
prepaid postage parcel in a mail box In Sing Sing Correctional Facility to be mailed by the

United States Postal Service

Dated lo/ L> | Lt

Ossining, New York

 

Tt

Sing Sing Correctional Facility
354 Hunter Street
Ossining, New York 10562

 
 

 

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